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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA



 LISA BARBOUNIS                         : CIVIL ACTION
                                        : NO. 2:19-cv-05030-JDW
                       Plaintiff,       : NO. 2:20-cv-02946
 -vs-                                   :
                                        :
 THE MIDDLE EAST FORUM, et al.          :
                                        :
                                        :
                       Defendants.      :
                                        :


___________________________________________________________________________

                  DEFENDANT THE MIDDLE EAST FORUM’S
               STATEMENT OF UNDISPUTED MATERIAL FACTS
___________________________________________________________________________




Dated: March 1, 2021



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 Leigh Ann Benson                       William Riser
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 The Middle East Forum,                 Gregg Roman
 Daniel Pipes and Gregg Roman
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           Defendants The Middle East Forum (“The Forum”), Daniel Pipes (“Pipes”) and Gregg

Roman (“Roman”)1 by and through their undersigned counsel, file this Statement of Undisputed

Material Facts with citations to the evidence of record in support of its Motion for Summary

Judgment as to the claims brought in the Amended Complaint (Doc. 51) filed by Plaintiff Lisa

Barbounis (“Barbounis” or “Plaintiff”) and as to the Counterclaims brought by The Forum

against Barbounis (Doc. 53).

                                       The Middle East Forum

              1. The Forum is a think tank founded in 1994 by Daniel Pipes. Exhibit 1,

              Certification of Daniel Pipes at ¶ 4-5.

              2. Daniel Pipes is the president of the Forum. Id. at ¶ 1.

              3. Gregg Roman is the director of the Forum. Id. at ¶ 11.

              4. Matthew Bennett is the former director of development of the Forum. Id. at ¶ 17.

              5. Plaintiff Lisa Barbounis is a former employee of the Forum and the Plaintiff in the

instant case. Id. at ¶ 18.

              6. Patricia McNulty is a former employee of the Forum and a friend of Plaintiff. Id.

at ¶ 19.

              7. Marnie O’Brien (“O’Brien”) is a former employee and human resources director

of the Forum who often feuded with Plaintiff. Id. at ¶ 20.

              8. Delaney Yonchek is a former employee of the Forum and was subordinate to

Plaintiff and O’Brien. Exhibit 2, Barbounis Dep. Part 2 at p.120-21.

              9. Caitriona Brady is a former employee of the Forum and was subordinate to



1
 Though named in the Amended Complaint, all claims against Matthew Bennett (“Bennett”)
were dismissed with prejudice by stipulation and order on September 29, 2020. (Doc. 56).
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McNulty and Bennett. Exhibit 1, Certification of Daniel Pipes at ¶ 24.

               10. Paul Harris, also known as Tommy Robinson (“Robinson”), is a United

Kingdom-based political activist with whom Plaintiff did substantial work beginning in 2018.

Id. at ¶ 21.

               11. Daniel Thomas (“Thomas”) is an affiliate of Robinson who was in charge of

putting together rallies and fundraising for his benefit. Id. at ¶ 22.

               12. Jazmin Bishop (“Bishop”) is the domestic partner and mother of Thomas’ 3

children. Id. at ¶ 23.

               13. Vasili Barbounis (“Vasili” or “Mr. Barbounis”) is Plaintiff’s husband. Id. at ¶ 24.

               14. The mission of the Forum is to promote American interests in the Middle East and

to protect Western values from Middle East threats. Id. at ¶ 3.

               15. In the Middle East, the Forum focuses on ways to defeat radical Islam, work for

Palestinian acceptance of Israel, develop strategies to contain Iran, and deal with advancing

anarchy. Id. at ¶ 4.

               16. In the United States, the Forum emphasizes the danger of lawful Islamism,

protects the freedoms of anti-Islamist authors and activists, and works to improve Middle Eastern

studies. Id. at ¶ 5.

               17. The work performed by the Forum at times generates controversy. Id. at ¶ 6.

               18. As a result, the Forum’s employees are occasionally subject to threats by terrorist

organizations, including ISIS and Al Qaeda. Id. at ¶ 7.

               19. Confidentiality is of the utmost importance to the Forum. Id. at ¶ 8.

               20. Those who work for the Forum have, at times, a demanding and stressful job. Id.

at ¶ 9.




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            21. Those who work for the Forum are frequently required to travel. Id. at ¶ 10.

            22. Gregg Roman is very passionate about the Forum’s mission and his work. Id. at

¶12.

            23. Roman works long hours to advance the Forum’s mission across the globe. Id. at

¶ 13.

            24. Roman is a demanding supervisor. Id. at ¶ 14.

            25. He demands the same commitment from the Forum’s employees as he does from

himself. Id. at ¶ 15.

            26. At times, this has led to personality clashes with his subordinates. Id. at ¶ 16.

            27. Roman was in the Israeli Defense Forces (IDF). Exhibit 3, Roman Dep. at p. 9-10.

            28. Roman was a non-commissioned officer in the IDF from 2008 – 2010. Id.

            29. Roman used to work for the Jewish Federation of Greater Pittsburgh. Id. at p.12-

13.

            30. Roman started working at the Middle East Forum in August 2015. Id. at p.18.

            31. Roman lives in Israel from 2006 to 2012. Id. at p.8-10.

            32. Roman attended the American University and The Interdisciplinary Center,

Herzliya, Israel. Id. at p.8.

        Plaintiff’s Employment with The Forum and Interactions with Gregg Roman.

            33. Plaintiff began her employment at the Forum in October 2017. Id. at ¶ 26.

            34. Plaintiff was hired as an executive liaison for the Forum and continued in that role

until January of 2019. Id. at ¶ 27.

            35. From the inception of her employment until November 5, 2018, Plaintiff reported

to Roman. Id. at ¶ 28.




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           36. As the president of the Forum, Pipes had ultimate supervisory authority over

Plaintiff at all times during her employment. Id. at ¶ 29.

           37. As part of her application for employment at the Forum, Plaintiff interviewed

with Gregg Roman. Exhibit 5, Email Chain Between Gregg Roman and Lisa Barbounis.

           38. Gregg Roman made the decision to hire Plaintiff to work at the Forum. Exhibit 6,

Reply to Offer by Lisa Barbounis.

           39. As part of her onboarding at the Forum, Plaintiff received an employee handbook

which contained the Forum’s anti-discrimination and harassment policies, which included details

about what sexual harassment entails, the Forum’s prohibition on sexual harassment of any kind,

instructions for reporting sexual harassment, and the Forum’s prohibition on retaliation against

individuals who reported sexual harassment. Exhibit 7, MEF Handbook.

           40. Pipes’ told new employees that he maintained an open-door policy and that there

should be “no surprises” – in other words, that employees should report any substantive issue

concerning their work or their employment to him immediately. Exhibit 1, Certification of

Daniel Pipes, at ¶ 30.

           41. Pipes also met with all new employees, including Plaintiff, and explained his two

fundamental rules. Id.

           42. Pipes’ first rule was that there should be no surprises, and that he wanted and

needed to know of any problems that emerged as soon as possible so that he could deal with

them as soon as possible. Id.

           43. Pipes’ second rule was that his door was always open, literally and figuratively,

and that employees could approach him with any problems at any time. Id.

           44. Plaintiff also received training on The Forum’s anti-harassment policy in a




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seminar conducted by The Forum’s director of human resources, Marnie O’Brien. Exhibit 3,

Roman Dep. at p.269. The Forum’s anti-harassment policy provides a reporting mechanism for

any complaint of perceived harassment and explains the steps that The Forum will take to

investigate and remedy any instances of harassment in the workplace. Exhibit 8, Excerpts from

MEF Personnel Manual.

             45. The Forum’s anti-harassment policy states as follows:

                 If you believe that you are the victim of impermissible harassment
                or become aware of another employee being subjected to
                impermissible harassment, you must promptly report the facts of
                the incident to your supervisor or to the president or director. The
                MEF will promptly, appropriately, and with a much confidentiality
                as much as possible investigate any reports of offensive conduct.

                After the investigation, appropriate action will be taken. Any
                employee who is found to have engaged in harassment of another
                employee will be subject to disciplinary action up to and including
                discharge. If deemed appropriate, an accused harasser may be
                suspended without pay pending investigation. In all cases we will
                advise the complaining employee and the accused of the outcome
                of the investigation.

       Id.

             46. Soon after her employment began, Plaintiff began sharing with Roman personal

and intimate details, including information about her health, her emotions, her marriage and her

children. Exhibit 9, Plaintiff’s Responses to Third Set of Requests for Admissions No. 13, 14;

Exhibit 10, Text Message from Plaintiff to Roman.

             47. On January 31, 2018, Plaintiff referred to Eman Patel, an employee of the Forum,

as a “loser” and a “walking lawsuit.” Exhibit 11, Text Messages Between Plaintiff and Matthew

Bennett.

             48. When asked if Roman said anything to her about Patel, Plaintiff responded, “No.”

Id.



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             49. In early March 2018, Roman and Bennett attended the annual American Israel

Public Affairs Committee (“AIPAC”) conference in Washington D.C. Exhibit 3, Roman Dep. at

p.166-167.

             50. Plaintiff and two other employees of the Forum, Patricia McNulty and Marnie

O’Brien, were in Washington D.C. at the same time, but did not attend the conference. Id. at

p.167.

             51. Roman, along with Bennett, rented an Airbnb on behalf of the Forum to stay in

during the conference and to host networking events. Id.

             52. Plaintiff, along with McNulty and O’Brien, rented a hotel room to stay in during

the conference. Id.

             53. After attending and drinking at several social events, Plaintiff, O’Brien, and

McNulty attended a networking event at the Forum’s Airbnb. Id. at p.149-150.

             54. After the event, Plaintiff, O’Brien, and McNulty elected to stay at the Airbnb for

the night, rather than return to their hotel room. Exhibit 2, Barbounis Dep. Part 1 at p.151.

             55. Plaintiff claims that, during the afterparty at the Airbnb, in the presence of at least

10 other individuals, Roman sat on a couch between Plaintiff and McNulty, put his arm around

Plaintiff and held her head close to his chest. Id. at p.143-148.

             56. None of the ten-plus other individuals identified in the depositions of Bennett and

Roman have submitted an affidavit or certification attesting to Plaintiff’s assertion. Id.

             57. Plaintiff refers to this incident as sexual abuse. Doc. 53 at ¶ 63-65.

             58. Roman denies that this incident ever happened. Exhibit 3, Roman Dep. at p.178.

             59. Plaintiff never told Roman that this alleged incident made her uncomfortable or

that she took issue with it in any way. Exhibit 2, Barbounis Dep. Part 1 at p.183-184.




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           60. Plaintiff did not report this alleged incident to Pipes or to the Forum’s human

resources department at that time. Id. at ¶183-86.

           61. Plaintiff did not complain to anyone about this alleged incident at that time. Id. at

¶183-89.

           62. Approximately one week later, Plaintiff traveled to Israel with Roman. Exhibit 3,

Roman Dep. at p.237.

           63. Roman was scheduled to go to Israel to attend business meetings and for other

Forum related business. Id. at p.240.

           64. Roman first asked Bennett if he would accompany him on the trip. Id. at p.242-

244).

           65. Bennett declined Roman’s invitation. Id. at p.242-244.

           66. Roman then asked O’Brien if she was interested in going on the trip. Id. at p.242-

244).

           67. O’Brien declined Roman’s invitation. Id. at p.242-245.

           68. Plaintiff expressed an interest to Roman in going on the trip to Israel. Exhibit 2,

Barbounis Dep. Part 1 at p.191.

           69. Roman then offered her the opportunity to go on the Israel trip. Id. at ¶ 183-86.

           70. Plaintiff accepted Roman’s offer. Id. at ¶ 191-97.

           71. Despite what Plaintiff now alleges to have occurred at AIPAC approximately one

week earlier, Plaintiff was enthusiastic and excited about traveling to Israel with Roman on

Forum business. Exhibit 2, Barbounis Dep. Part 1 at p.190-98.

           72. The Israeli government had recommended that visitors involved in security

consultations avoid staying in hotels and instead, where possible, to stay in private




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accommodations such as Airbnbs. Exhibit 3, Roman Dep. at p.242-45

            73. Roman selected an Airbnb that he thought was appropriate for this trip. Id. at

p.245-46.

            74. On previous trips to Israel, Roman stayed at other Airbnbs with other MEF staff

and contractors. Id. at p.240.

            75. Plaintiff was aware of his selection for accommodations prior to the trip and

voiced no objection. Id. at p.246.

            76. Plaintiff sent photos of the Airbnb to her mother and described it as “awesome”

and noted that their French host was “hot.” Exhibit 12, Text Messages from Plaintiff to J.

Reynolds, at p.420.

            77. Despite her review of the Airbnb in statements to her mother, on arrival at the

Airbnb in Israel, Plaintiff alleges that she was surprised to learn that the Airbnb had only one

bathroom. Exhibit 2, Barbounis Dep. Part 1 at p.200-04.

            78. Plaintiff testified that thought the single bathroom was “weird” but it did not

cause her significant concern at the time. Id. at 201-02.

            79. While in Israel, Plaintiff engaged in many typical tourist activities, including

walking around neighborhoods, seeing sights, and taking numerous photos of landmarks and

other subjects of interest in Tel Aviv and Jerusalem. Exhibit 13, Photos taken by Plaintiff in

Israel.

            80. Plaintiff alleges that, while in Israel, Roman sexually assaulted and harassed her

on March 14, 2018 by (1) putting his foot underneath her while Plaintiff and Roman were sitting

on an outdoor couch, (2) talking about “blowjobs” and asking Plaintiff for “a release,” and (3)

talking about his alleged relationship with a former intern at The Forum. Exhibit 2, Barbounis




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Dep. at p.228-30.

            81. Roman denies all such activity. Exhibit 3, Roman Dep. at 247-50.

            82. Plaintiff went to several business meetings with Roman while in Israel, both

before, on, and after March 14, 2018 and those with whom she met observed no signs of distress

or abnormality. Exhibit 15, Affidavits of Ashley Perry, Gilad Ach, and Matan Peleg.

            83. At the time, Plaintiff never complained to anyone that Roman had sexually

harassed her or solicited sex from her, despite being in contact with her husband and other

employees of the Forum during the same time frame. Exhibit 2, Barbounis Dep. Part 1 at p.186,

203-32.

            84. Plaintiff admits that she never complained to Pipes or the Forum’s human

resources department about Roman’s alleged behavior until October 30, 2018, despite the The

Forum’s human resources director trying to “pull the story” out of her. Id. at p.235-37.

            85. Plaintiff admits that she never considered leaving Israel despite her allegations

about Roman’s behavior. Id. at p.224.

            86. Plaintiff never told anyone that she met during her trip to Israel that Roman had

allegedly acted inappropriately in any way. Id. at p.223.

            87. On March 20, 2018, Plaintiff texted Matt Bennett: “Gregg [Roman] is a good

person but not a Good boss.” Exhibit 16, Text Message from Plaintiff to M. Bennett.

            88. On March 29, 2018, Plaintiff wrote to McNulty, stating, “I need to look for a new

job where I’m not an assistant.” Exhibit 17, Message from Plaintiff to P. McNulty.

            89. McNulty responded, “Don’t think about it now, the Marnie [O’Brien] part is

makig you hate it more.” Id.

            90. On April 17, 2018, the Forum conducted sexual harassment training for its entire




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staff led by Roman and O’Brien, which Plaintiff attended and helped organize. Exhibit 18, MEF

Sexual Harrasment Seminar.

           91. Shortly after returning from Israel, Plaintiff text messaged Roman: “You should

feel comfortable telling me when you are upset," and, "Ok. I’m focused but I want you to know

you should feel comfortable telling me when I piss you of. (sic)" Exhibit 19, Message from

Plaintiff to Roman.

           92. On May 12, 2018, Plaintiff told McNulty, “I just called Gregg in Israel and told

him I’m at a breaking point and I’m about to quit.” Exhibit 20, Text Messages between Plaintiff

and P. McNulty, at p.268.

           93. On May 14, 2018, Plaintiff sent Roman her university term paper for his review.

Exhibit 21, Email from Plaintiff to Roman.

           94. For the first year of her employment, between October 2017 and November 2018,

Barbounis never complained about Roman or his conduct to anyone in her supvisory chain at

The Forum, including Roman himself, Daniel Pipes or the Forum’s human resources department.

Exhibit 1, Certification of Daniel Pipes, at ¶ 31; Exhibit 2, Barbounis Dep. Part 1 at p.234.

           95. Plaintiff never told Roman that he made her uncomfortable. Exhibit 2, Barbounis

Dep. Part 1 at p.122-125.

           96. Plaintiff never told Roman that any of his alleged behavior was unwelcome. Id.

           97. Plaintiff never told Roman that his behavior was unwelcome. Id. At 122-125,

207-208.

           98. Plaintiff frequently invited Roman to participate in after-hours social events with

employees of the Forum. Id. at 119.

           99. Plaintiff states that via her actions toward Roman, she was attempting to “kill him




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with kindness,” referring to Roman. Id. at 119-23.

             100.       There are no contemporary communications or other written

correspondence in the record in which Plaintiff states that Roman every sexually harassed or

assaulted her.

                    Plaintiff’s Allegations of Discrimination and Harassment.

             101.       Plaintiff had difficulty getting along with Marnie O’Brien, The Forum’s

controller and director of human resources. Exhibit 22, Message from Plaintiff to P. McNulty.

             102.       On February 2, 2018, Plaintiff wrote to McNulty, “I’ve had it with Marnie

[O’Brien]. I do not trust her.” Exhibit 23, Message from Plaintiff to P. McNulty.

             103.       On April 4, 2018, Plaintiff referred to O’Brien as a “bitch” in a text

message. Exhibit 24, Message from Plaintiff to P. McNulty.

             104.       On April 9, 2018, in a text message with Tricia McNulty, Plaintiff stated

that she was considering faking an illness to avoid work, telling McNulty that her deadline was

at 6 and that she was “thinking of ramping up my heart and taking a trip to the er [Emergency

Room] to postpone.” Exhibit 25, Message between Plaintiff and P. McNulty.

             105.       McNulty responded, stating, “You know if a trip to the Er [Emergency

Room] would get you a get out of jail free card you could just go and SAY your heart was acting

up.” Id.

             106.       Plaintiff responded, “I know I’m insane.” Id.

             107.       Plaintiff told McNulty, “If Gregg calls or emails today I may get fired or

quit.” Id.

             108.       Plaintiff then followed up by stating, “Not really but you get it.” Id.

             109.       Plaintiff was not fired nor was she subjected to any other employment




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punishments. Exhibit 1, Certification of Daniel Pipes, at ¶ 63.

           110.       On May 10, 2018, Roman chastised Plaintiff for failing to schedule a

meeting with Matan Peleg, a grantee of the Middle East Forum’s Education Fund. Exhibit 26,

Emails between Plaintiff and Roman.

           111.       In the summer of 2018, Roman and the Forum were planning to start a

social welfare entity separate and apart from the Forum. Exhibit 27, Affidavits of Brett Goldman

and Jarad Geldner; Exhibit 28, Draft Articles of Incorporation.

           112.       Roman shared those plans with Plaintiff, who volunteered to assist him

with the founding of a 501(c)(4) organization. Exhibit 29, Meeting Notes.

           113.       On July 12, 2018, Plaintiff sent Roman a list of items that he would need

for creating the new organization. Exhibit 30, Email from Plaintiff to Roman.

           114.       On July 26, 2018, Plaintiff communicated with Ari Morgenstern, Director

of Communications and Policy for the Christians United for Israel and informed him of Roman’s

plans to start a new social welfare organization. Exhibit 31, Email from Plaintiff to A.

Morgenstern.

           115.       At the same time, Plaintiff was competing with Marnie O’Brien, director

the human resources for the Forum, for status and power within the organization. Exhibit 9,

Plaintiff’s Response to Third Set of Requests for Admission No. 15; Exhibit 32, Barbounis Dep.

In O'Brien v. MEF at p.20.

           116.       When Plaintiff discovered that O’Brien might get an assistant before her,

Plaintiff wrote to Roman:

               Is it the assistant thing? She said you promised her Delaney and
               she will be pissed if someone gets an assistant before her. Her and
               I have been getting along pretty well, or so I thought, so I'm rather
               shocked to hear she was shooting down having my role modified.



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               you are my boss and she is HR. How is it that she gets to make
               performance judgments? I know we are a small place but we need
               structure. I want to make my time here successful for both me and
               MEF. I want to live up to my potential. I know you can help me
               achieve that. How ‘can we fix this?

Exhibit 33, Message from Plaintiff to Roman.

            117.       On August 9, 2018, Roman submitted a policy plan to the State

Department that included Plaintiff’s name on it. Exhibit 34, Message from Plaintiff to J.

Reynolds.

            118.       Plaintiff remained confident and secure in her position with the Forum at

this time, writing: “...everyone in here loves me, Tricia, Delaney, Matt, Thelma. Cliff, Sam, and

EJ all love me. No one else [other than Marnie O’Brien] has a problem with me...” Exhibit 35,

Message from Plaintiff to P. McNulty.

            119.       In September 2018, Plaintiff’s hostilities with O’Brien escalated when she

failed to include O’Brien on the Forum’s weekly schedule. Exhibit 36, Message from M.

O’Brien to Roman.

            120.       O’Brien wrote to Roman to complain about Plaintiff, stating that Plaintiff

“was completely hostile the entire time she was in my office. I know it will blow over and we

will be fine but I’d like to discuss that whe [sic] situation further with you and without emotion.”

Id.

            121.       On September 27, 2018, Plaintiff wrote to McNulty: “I’m sending emails

to DP and Gregg high as shit.” Exhibit 37, Message from Plaintiff to P. McNulty.

            122.       On October 4, 2018, Plaintiff expressed her anger over McNulty taking

credit for her work with Robinson, writing, “I planned the whole entire Tommy thing in London.

I invited tricia [McNulty] because I wanted company. Now the president thinks both of us




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planned it. But its mine.” Exhibit 38, Message from Plaintiff to V. Barbounis.

           123.         On October 16, 2018, Roman wrote to O’Brien about Plaintiff failing to

respond to donors who reached out to obtain a meeting with Roman. Exhibit 39, Message from

Plaintiff to O’Brien.

           124.         Responsiveness to donors is a critical element of the Forum’s work, as it

depends on donations to carry out its mission. Exhibit 1, Certification of Daniel Pipes, at ¶ 8.

           125.         Nevertheless, Plaintiff was never disciplined, demoted, terminated, docked

in pay or suspended for this infraction or any others. Exhibit 1, Declaration of Daniel Pipes at ¶

63.

           126.         On October 30, 2018, Plaintiff had a confrontation with Marnie O’Brien at

the Forum’s offices. Exhibit 40, Message from Plaintiff to Roman.

           127.         Plaintiff wrote to Roman complaining about this confrontation. Id.

           128.         Roman noted in his response that if Plaintiff’s complaint had to do with

the Forum’s human resources director, Plaintiff could bypass human resources with her

complaint and approach Roman, Pipes, and MEF’s in-house counsel directly. Exhibit 41,

Message from Roman to Plaintiff.

           129.         Roman also invited Plaintiff to speak with Roman and Marc Fink, the

Forum’s in-house counsel, concerning her grievances about O’Brien. Id.

           130.         In her response to Roman, Plaintiff wrote, “I am not intentionally loud. I

have a voice that carries. I don’t think I should be penalized for that.” Exhibit 42, Message from

Plaintiff to Roman.

           131.         In another response to Roman, Plaintiff declined to out the employee

about whom she was complaining, noting that she did “not need to discuss it today” but was “just




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making you aware of the situation.” Id.

           132.        That same day, O’Brien texted Roman to inform him that she was going to

invite Plaintiff to “meet for a cup of coffee before coming into the office so that we can smooth

things over otherwise its going to be a long day.” Exhibit 43, Message from O’Brien to Roman.

           133.        O’Brien noted that she and Plaintiff were “very alike” and “just need to

figure out how to respect each other.” Id.

           134.        On the evening of October 30, 2018, Plaintiff wrote Roman a long email

in which she provided her side of the story about her confrontation with O’Brien. In that email,

Plaintiff explained her reasons for being late to the office and complained that she was being

targeted by O’Brien:

               I feel that Marnie [O’Brien] targets me and has made it her mission
               to ‘reel me in’ because she has said as much. Additionally, when
               others are being loud, no one, including Marnie, ever says a word
               to them. As a prime example, yesterday, as I was writing a letter
               for Lord Pearson multiple people were outside my office being
               incredibly loud. I said nothing, and Marnie said nothing.
               However, today when I was irritated about a work situation and
               finished my sentence as Tricia walked away, of course Marnie
               didn’t wait two seconds before coming into my office and
               reprimand me. I repeated these same concerns as I am stating now
               – that she only targets me. . . .

               I know that I am being targeted. We have one employee who
               comes in late and leaves early every single day, and no one says a
               word. When others are loud no one says a word. There is a clear
               and obvious double standard and I am becoming very
               uncomfortable. I am held to one standard and everyone else is
               held to another.

               We all know that this is not the first instance of her singling me
               out. I am fearful that with Marnie as the HR person my job is in
               jeopardy. . . . I can’t work with my HR manager acting as my boss
               and monitoring every little thing I do.

Id.




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           135.        At the same time, Plaintiff was angry at Roman about a press release that

went out announcing the Forum’s legal support for Tommy Robinson, a United Kingdom-based

activist, because she felt she had not been given proper credit for her work, and that Roman was

instead taking credit for the project. Exhibit 44, Message from Plaintiff to J. Reynolds.

           136.        Plaintiff’s work with Robinson was very important to her, prompting her

to state, “If I didn’t have this Tommy thing I’d quit today.” Exhibit 45, Message from Plaintiff

to D. Thomas.

           137.        Plaintiff told Thomas, “After his [Tommy Robinson] trip here I’m quitting

my job and looking for another one. Maybe in London Hahahahahaha." Exhibit 55 at p.51.

           138.        On November 1, 2018, Marnie O’Brien, one of Plaintiff’s coworkers,

lodged complaints about the alleged behavior of Gregg Roman to Daniel Pipes. Exhibit 47,

Meyer Dep. at p.106.

           139.        The complaints included allegations relating to Lisa Barbounis, Marnie

O’Brien and Patricia McNulty. Exhibit 1, Certification of Daniel Pipes, at ¶ 33.

           140.        That same day, Plaintiff told her husband that she might “have a great

plan.” Exhibit 48, Message from Plaintiff to V. Barbounis.

           141.        Pipes took the complaints seriously, and immediately began investigating.

Exhibit 1, Certification of Daniel Pipes, at ¶ 34-38; Exhibit 49, Email from D. Pipes.

           142.        As part of his investigation, Pipes interviewed Gregg Roman and

discussed the allegations made against him. Exhibit 1, Certification of Daniel Pipes, at ¶ 35-36;

Exhibit 49, Email from D. Pipes.

           143.        Roman denied all allegations of sexual harassment and misconduct.

Exhibit 1, Certification of Daniel Pipes, at ¶ 35-36; Exhibit 49, Email from D. Pipes.




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           144.          Pipes found Roman’s denials to be credible. Exhibit 1, Certification of

Daniel Pipes, at ¶ 39.

           145.          Nevertheless, out of an abundance of caution and respect for the Forum’s

subordinate employees, Pipes decided to implement a new supervisory structure which would

remove O’Brien, McNulty, and Barbounis from Roman’s supervision and implement restrictions

on contact with Roman to business hours, with no in-person contact without approval. Exhibit

50, Memo from D. Pipes to Roman.

           146.          On November 4, 2018, Pipes emailed Plaintiff, O’Brien, and McNulty

concerning his findings and relayed the new supervisory structure to them. Exhibit 51, Email

from D. Pipes.

           147.          In that email, Pipes notified Plaintiff, O’Brien, and McNulty that if Roman

were to become their supervisor again in the future “it would only be with your consent.” Id.

           148.          In that email, Pipes asked Plaintiff, O’Brien and McNulty whether they (1)

agreed with his proposed changes, (2) were satisfied with how the Forum handled the matter, and

(3) if unsatisfied, what additional steps they requested.” Id.

           149.          Plaintiff responded to Pipes’ email, stating, among other things, that

“Gregg made unwanted sexual advances and put me in an uncomfortable situation. However, I

felt at the time I handled the issue and have not had an incident since,” so Pipes set a meeting for

the following day with the entire office staff except Roman. Id.

           150.          On November 5, 2018, Plaintiff participated in a meeting with Daniel

Pipes concerning grievances that Plaintiff, Patricia McNulty and Marnie O’Brien had lodged

against Roman. Exhibit 52, Meeting Notes.

           151.          Pipes listened wholeheartedly to the complaints from Plaintiff’s coworkers




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concerning Roman and his demanding management style. Exhibit 1, Certification of Daniel

Pipes, at ¶ 35-36; Exhibit 52, Meeting Notes.

           152.        According to the meeting notes, Plaintiff raised no complaints about any

sexual harassment by Roman. Id.

           153.        At the meeting, Plaintiff requested that Pipes remove Roman from his role

as the Forum’s director. Id.

           154.        Out of an abundance of caution, Pipes complied with Plaintiff’s request,

largely because he valued the employees of the Forum and appreciated their concerns. Id.

           155.        Pipes imposed several conditions on Roman’s employment, including

removing his direct oversight of Plaintiff and her co-workers and instructing Roman to work

outside of the Forum’s offices. Id.

           156.        On November 5, 2018, in response to her mother’s questions about

whether Roman had been terminated, Plaintiff stated, “For the most part.” Exhibit 53, Messages

between Plaintiff and J. Reynolds.

           157.        In that same conversation, in response to a question about whether she was

happy with her “new job and title,” Plaintiff responded, “I don’t know. And I don’t know if that

is my actual title. And I don’t know if its permanent. I’m very stressed out.” Id.

           158.        On November 6, 2018, Pipes provided Roman with a formal offer letter

detailing the new terms of his employment, which included Roman having no involvement in the

Forum’s personnel issues, no authority to hire and fire the Forum’s employees, no access to the

Forum’s Philadelphia office, and no contact with the Forum’s female employees outside of

business hours. Id.

           159.        Roman accepted Pipes’ instructions and the new terms and conditions of




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his employment. Exhibit 54, Executed Offer Letter.

             160.      On November 6, 2018, Plaintiff wrote to Thomas: "It's been a rough few

days. I basically got rid of my own position. Gregg is gone from the office and may be gone

entirely. Only time will tell. I'm not working with him so there isn't much for me to do. They let

me keep the Tommy project and fired the online editor and gave me that job for now until they

see if Gregg is going to manage the other projects. If not I may get that time will tell. But he's out

of the office and stripped of his authority. He may retain the title so the organization saves face."

Exhibit 55, Messages between Plaintiff and D. Thomas.

             161.      From November 6, 2018 through March 9, 2019, Roman ran projects for

the Forum and met with donors, but was not involved in the day-to-day in-office operations at

the Forum and had little to no contact with the Forum’s in-office employees, including Plaintiff,

nor visited the MEF premises, except one time, supervised by Pipes, in order to clean out his

office. Exhibit 3, Roman Dep. at p.100-01; Exhibit 1, Certification of Daniel Pipes, at ¶ 43.

             162.      On November 15, Plaintiff remarked to her friend that “I have a guy in the

UK that is so hot and loves me. He keeps asking me to leave Vasili.” Exhibit 56, Messages

between Plaintiff and K. Ercole.

             163.      In December 2018, Plaintiff received a promotion to Director of

Communications for the Forum. Exhibit 9, Plaintiff’s Responses to Third Set of Requests for

Admissions No. 2.

             164.      On February 1, 2019, the Forum paid discretionary performance bonuses

to several in-office employees, including Plaintiff, who received $1,000. Exhibit 57, Bonus to

Plaintiff.

             165.      On February 6, 2018, Plaintiff wrote to McNulty that she was engaged in




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text messaging with Roman solely in the Forum’s work chat group and noting, “F him.” Exhibit

20, Text Messages between Plaintiff and P. McNulty at p.52.

            166.       On February 8, 2019, Plaintiff reached out to her contact from the New

York Times on behalf of Robinson using her MEF business email address, stating: “I know that

we spoke briefly about a meeting when I next visit London however I may have a very big

exclusive story for you involving Tommy Robinson, Hope Not Hate and the BBC. Might you

have a moment to speak?” Exhibit 58, Email from Plaintiff.

            167.       In March 2019, the Forum paid a second round of discretionary

performance bonuses to several in-office employees, including Plaintiff, who received $6,000.

Exhibit 59, Second Bonus to Plaintiff.

            168.       These bonuses were for “a job well done” and increased work

responsibilities, and had nothing to do with any allegations against Roman. Exhibit 1,

Certification of Daniel Pipes, at ¶ 63.

            169.       On March 7, 2019, Plaintiff won an in-office vote to become the “office

point person” over O’Brien. Exhibit 60, Transcript of Recording by Plaintiff.

            170.       On March 8, 2019, Plaintiff illegally recorded a phone conversation

O’Brien – without O’Brien’s permission – and was accused of “taking money” out of O’Brien’s

pocket. Id. at p.4.

            171.       Following this vote, on March 8, 2019, Plaintiff asked Pipes to reinstate

Gregg Roman to his prior supervisory role and duties, including his return to the office work

environment. Exhibit 61, Plaintiff’s Responses to Third Set of Requests for Admissions No. 12.

            172.       Plaintiff told Pipes that with Bennett leaving, the Forum needed Roman to

return to give it direction and leadership. Exhibit 1, Certification of Daniel Pipes, at ¶ 46.




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            173.        On March 8, 2019, Matthew Bennett voluntarily left the Forum to pursue

other opportunities. Id.

            174.        Patricia McNulty was promoted to Acting Director of Development to

temporarily fill the role vacated by Bennett. Exhibit 62, Message Confirming Promotion of P.

McNulty.

            175.        On March 9, 2019, Pipes held a staff meeting to discuss Roman’s return,

inviting Roman to attend, with the advice and consent of Plaintiff and McNulty’s suggestion that

he be there. Plaintiff’s Responses to Third Set of Requests for Admissions Nos. 43-48.

            176.        In follow-up to the meeting, Marc Fink, the Forum’s in-house counsel,

sent emails to Plaintiff, McNulty and O’Brien summarizing the discussion concerning Roman’s

return, outlining the conditions of Roman’s return, and soliciting feedback on those discussions

and decisions. Exhibit 63, Email to Plaintiff from M. Fink.

            177.        During this period of time, Roman had been committed to opening his

501(c)(4) organization and to leaving The Forum, including obtaining the necessary legal

paperwork to commence this new legal entity in Washington DC, raising funds for it, and paying

attorneys to help with its formulation. Exhibit 64, C. Accardi Dep. At p.23; Exhibit 27,

Affidavits of B. Goldman and J. Geldner.

            178.        Ultimately, Roman decided not to proceed with the 501(c)(4) because

Plaintiff had requested that he return in full capacity to the Forum. Exhibit 3, Roman Dep. at

p.165.

            179.        On March 13, 2019, Pipes sent a letter to Roman summarizing the new

terms of his employment and return to the office, which included a closer collaboration with

office staff, but with several restrictions in place, including no authority to hire and fire the




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Forum’s employees, no authority to monitor or restrict communications of staff with Pipes, and

no communication with employees outside of normal business hours except at sponsored events

or through the use of the company’s email or Telegram systems. Exhibit 65, Letter from D.

Pipes.

           180.        On March 18, 2019, Pipes messaged Plaintiff voicing concern about her

affiliation with Jack Posobiec, a reporter for One America News, stating: “Tell me if I am wrong,

but I am under the impression that Jack Posobiec is not someone MEF wants to associate with.”

Exhibit 66, Message from D. Pipes to Plaintiff.

           181.        Plaintiff responds, I’m friendly with him. He’s pro trump. I don’t find his

tweets too extreme.” Id.

           182.        On March 27, 2019, Fink emailed Plaintiff, McNulty and O’Brien to

follow up with them on Roman’s return and restrictions. Exhibit 67, Email from M. Fink.

           183.        From November 5, 2018 through her resignation from the Forum, Plaintiff

complains of only a single specific act of “retaliation” wherein she alleges that Roman lied to

Pipes about her performance, but admits that she suffered no discipline as a result. Exhibit 2,

Barbounis Dep. Part 2, at p.128-140.


 Barbounis Meets Daniel Thomas, Begins A Sexual Affair With Him, And Hatches A Plan
               To Emigrate To The United Kingdom Using MEF Funds.

           184.        In May of 2017, The Forum began working with Stephen Christopher

Yaxley-Lennon (legal name, Paul Harris), a United Kingdom based activist better known as

Tommy Robinson (“Robinson”), to support his free speech rights on Islam and Islamism.

Exhibit 1, Certification of Daniel Pipes, at ¶ 21, 50.

           185.        In Spring of 2018, Barbounis began working on The Forum’s behalf to




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support the free speech rights of Robinson. Id. at ¶ 51.

           186.        Plaintiff’s first and primary point of contact for Robinson was a man

named Daniel Thomas. Id. at ¶ 52.

           187.        Thomas was organizing a rally to support Robinson, who had recently

been jailed for contempt of court. Id. at ¶ 53.

           188.        At Barbounis’ urging, the Forum provided Thomas with a $32,000 grant

to fund a rally to show support for Robinson. Id.; Exhibit 68, Message from Plaintiff to Roman.

           189.        Barbounis was tasked with managing the Forum’s relationship with

Robinson. Exhibit 1, Certification of Daniel Pipes, at ¶ 54.

           190.        The Forum’s grant to support the Robinson event was memorialized in a

contractual agreement. Exhibit 69, Contract with D. Thomas.

           191.        The contract specified the methods and means by which the Forum’s grant

monies would be used. Id.

           192.        The contract also specified that if any of the grant monies were misused,

the Forum would be entitled to a return of all of the monies provided. Id.

           193.        The contract also specified that if any of the grant monies were spent on

things not contemplated by the contract, the Forum would be entitled to a return of all the monies

provided. Id.

           194.        Plaintiff was familiar with this contract. Exhibit 2, Barbounis Dep. Part 1

at p.268-69.

           195.        Plaintiff delivered the contract to Thomas and received his countersigned

copy on behalf of The Forum. Exhibit 69, Contract with D. Thomas at p.5.

           196.        The Forum conveyed $32,000 to Thomas to support the Robinson rally.




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Exhibit 1, Certification of Daniel Pipes, at ¶ 53.

           197.          Plaintiff sought and received permission from the Forum to attend the

rally and to supervise the rally and the use of the Forum’s funds. Exhibit 1, Certification of

Daniel Pipes, at ¶ 55.

           198.          The invoice for the company hired to put on the rally totaled £15,198.00.

Exhibit 70, Invoices.

           199.          On or about June 8, 2018, Plaintiff traveled to the United Kingdom and

attended the Robinson rally on behalf of The Forum. Exhibit 1, Certification of Daniel Pipes, at

¶ 55.

           200.          McNulty accompanied Plaintiff on this trip. Exhibit 71, Messages from

Plaintiff re: London; Exhibit 72, Exhibit 72, Photo of Plaintiff and P. McNulty in London.

           201.          During her trip to the United Kingdom, Plaintiff met Thomas in person for

the first time. Exhibit 2, Barbounis Dep. Part 1 at p.269.

           202.          While at the rally, Plaintiff recognized that many of the items that were

outlined in the Forum’s contract with Robinson and which The Forum’s grant was to purchase

were not in fact purchased or used at the rally. Exhibit 73, Email from Plaintiff to Roman.

           203.          On June 11, 2018, Thomas emailed The Forum and claimed that the rally

was more expensive that it actually was, allowing him to pocket the difference. Exhibit 74,

Invoice from D. Thomas.

           204.          Plaintiff received a copy of Thomas’ claimed expenses. Id.

           205.          On June 19, 2018, Plaintiff expressed frustration with Roman and her

efforts with Robinson in London, writing: “Gregg gave London to the guy he is firing as a

parting gift I’m so mad.” Exhibit 75, Message from Plaintiff to V. Barbounis.




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             206.       On August 3, 2018, Plaintiff wrote to McNulty complaining about the lack

of credit she was being given for the Forum’s work with Robinson, stating:

                I’m super pissed about the Tommy shit. DP is acting like there was
                a whole team of MEF people working on it. Gregg says let’s
                fundraise off it and tells me to put a proposal together. Everyone I
                talked to loves it including Marc. Gregg says we are getting bad
                press but has always said bad press is good. We have more press
                than ever and he down plays it and now him and DP are going to
                DC to talk to Bannon about Tommy and the movement and I’m not
                allowed to go.

                Raheem knows I did everything and said he was impressed on his
                own without prompting but I’m watching him and getting jealous.
                I know I’m a child.

                I get that I shouldn’t look for credit but I want it. I know it’s not
                cool but I do and it’s pissing me off.
                I kinda said it to Gregg and he said “if you are doing it for credit
                you are in the wrong business” as if he doesn’t want all the
                attention all the time

Exhibit 20 at p.415.

             207.       That same day, Plaintiff sent a memorandum to Roman advocating for an

increase in the Forum’s financial support for Robinson. Exhibit 76, Memo from Plaintiff to

Roman.

             208.       After Roman shared Plaintiff’s memorandum with Pipes, Pipes urged

caution, stating that he was “leery of associating too much with Tommy Robinson; he is trouble

with a capital T. . . . MEF is better off treating him as a Legal Project beneficiary, i.e., keeping a

distance.” Exhibit 77, Message from D. Pipes to Plaintiff.

             209.       On August 8, 2018, Plaintiff expressed displeasure with her co-workers on

Facebook, stating that her and McNulty were “judging them.” Exhbit 78, Facebook Post by

Plaintiff.

             210.       On October 9, 2018, Plaintiff sent Roman a breakdown of the costs for an



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October 23, 2018 event in London to support Robinson, but expressed no hesitation in dealing

with Thomas despite knowing about the prior issues in funding for the previous rally. Exhibit 79,

Message from Plaintiff to Roman.

             211.      On October 16, 2018, O’Brien wrote to Plaintiff, stating: “Tell Tommy we

are MEF not ATM...I’m not paying anything that isn’t clearly defined. I know you need to keep

a good working relationship with him, but that’s BS." Exhibit 80, Message from O’Brien to

Plaintiff.

             212.      In late October of 2018, Plaintiff traveled to the United Kingdom to attend

a dinner and demonstration to support Robinson, bringing her mother with her, without

informing the Forum of her presence. Exhibit 2, Barbounis Dep. Part 1 at p.286-87.

             213.      While there, Plaintiff began an adulterous sexual affair with Thomas. Id.

at p.287-94.

             214.      Thomas states that he and Barbounis would use cocaine “every time I saw

her,” and “every time we were out, she would ask me to get it and we would do cocaine all

night.” Exhibit 81, Transcript of Call with D. Thomas.

             215.      Thomas estimates that he and Barbounis would use “five, six hundred

dollars of cocaine every evening.” Id.

             216.      Barbounis also sent Thomas money and other resources at various times,

including approximately $1,000 in cash and a credit card that Thomas used to buy Christmas

presents for his children. Id.

             217.      Plaintiff has a six-figure tax lien on her home. Exhibit 2, Part 1 at p.438-

39.

             218.      Thomas states that, during this time, Plaintiff told him that she was




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unhappy with her family life, her husband, and her job, and that she wanted to leave the United

States and move to join him in the United Kingdom. Exhibit 81, Transcript of Call with D.

Thomas.

           219.        Thomas also states that Plaintiff confided in him that to fund her

anticipated move to the United Kingdom, she had concocted a plan to enrich herself illegally at

the expense of the Middle East Forum by asserting that Roman had inappropriately pressured her

to engage in sexual activity with him, and that she would make “loads” from this scheme.

Exhibit 81, Transcript of Call with D. Thomas.

           220.        Thomas states that “wanted to leave her husband” and “come to the United

Kingdom” to buy a home and continue her relationship with Thomas. Exhibit 81, Transcript of

Call with D. Thomas.

           221.        Thomas reports that Plaintiff told him, “I’ll say, ‘Gregg’s done this,

Gregg’s done that. And then I’m going to take it to court and get, and they’ll have to pay out.

They’ll pay me loads. They’ll pay me loads, and then I’ll have enough money to do whatever the

hell we want to do.’” Exhibit 81, Transcript of Call with D. Thomas.

           222.        Thomas told Roman that Barbounis “had it in for you, Gregg. She had it in

for you. From, from the time we ever spoke about you, she wanted your job. And then when she

realized she couldn’t get the job or something, then she wanted to go down the route of

destroying you, destroying you and making ‘loads’ of money from it. I had many conversations

about that with her, um, over that, so that w- that’s definitely something that was, uh, was

definitely on her, on the plate from very early on from me speaking to her.” Exhibit 81,

Transcript of Call with D. Thomas.

           223.        During this time, due to her many and protracted trips to the United




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Kingdom and her relationship with Thomas, Barbounis’ work performance at MEF began to

suffer and her mistakes and errors increased. Exhibit 1 at 62.

             224.       Marnie O’Brien, the Forum’s controller and director of human resources,

was documenting these performance issues. Exhibit 82, M. Meyer Dep. at p.93.

             225.       This led to Plaintiff’s confrontation with O’Brien on October 30, 2018,

wherein Plaintiff complained that O’Brien was “targeting” her. Exhibit 83, Message from

Plaintiff.

             226.       On November 21, 2018, Pipes wrote to Plaintiff: “I am not happy about

Tommy's Proud Boys connection.” Exhibit 84, Message from D. Pipes.

             227.       Plaintiff responded: “I just looked into them myself the other day. To be

honest I think they [the Proud Boys] are getting a bit of a bad wrap [sic]. Some of it deserves

some of it not there [sic] certainly not affiliated with white nationalists." Id.

             228.       On November 23, 2018, Russel Thomas, father of Daniel Thomas, wrote

to Plaintiff, stating: “Daniel has a wife and three children. He is dedicating himself to the

developing [Tommy Robinson] movement but at the financial detriment of his personal life. I

know you have recently financially help[ed] him which is much appreciated, however, Daniel

needs, or more importantly his family needs some kind of financial stability. Would it be

possible for you to arrange some form of ‘regular’ financial assistance directly to Daniel or

perhaps his wife?” Exhibit 85, Email from R. Thomas to Plaintiff.

             229.       Plaintiff responded, noting that the Forum’s support of Robinson’s free

speech campaign was necessarily limited and could not be expanded, but referenced a

documentary project that she was helping Thomas and Robinson plan, and with which she would

assist and submit to the Forum. Exhibit 86, Email from Plaintiff to R. Thomas.




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           230.        On December 7, 2018, Plaintiff appeared in an article in The Guardian

newspaper with Robinson and Thomas planning a political event in the United Kingdom.

Exhibit 87, Guardian Article.

           231.        Pipes wrote to Plaintiff, stating: "In this business, there really is no

personal capacity. If you raise orchids, sure. But not topics related to MEF's." Exhibit 88,

Messages between Plaintiff and D. Pipes.

           232.        Plaintiff responded to Pipes, “"I’m out to dinner In London. I should be

done shortly." Id.

           233.        Pipes replied, “London. Wow...You should put your travels in the

calendar." Id.

           234.        On December 3, 2018, Plaintiff wrote to Robinson asking him to review

the proposal she wrote on his behalf and to send it to Pipes. Exhibit 89, Message from Plaintiff

to T. Robinson.

           235.        On December 4 2018, Plaintiff tried to convince Pipes to fund the

Robinson proposal that Plaintiff herself wrote. Exhibit 90, Message from Plaintiff to Pipes.

           236.        Plaintiff did not tell Pipes she was the author of the proposal. Id.

           237.        Based in part on Roman’s concerns, Pipes rejected the proposal and

informed Robinson directly. Exhibit 91, Message from D. Pipes to Plaintiff.

           238.        Upon seeing Pipes’ rejection of her proposal, Plaintiff wrote to Robinson:

“Before you reply to Daniel's email. Let's come up with some answers to the questions. All the

criticism came from Gregg… Not good." Exhibit 92, Message from Plaintiff to T. Robinson.

           239.        On December 7, 2018, a reporter for The Guardian confronted Roman and

Pipes with the fact that Plaintiff was in London planning a rally with UK political figures:




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"Separately, I wanted to ask more about the Middle East Forum's involvement in Sunday's Brexit

rally in London. Lisa Barbounis, your executive liaison, is pictured below with the organising

team at a planning meeting on 30 November along with Tommy Robinson and others. Lisa is in

London today with Avi Yemini and Robinson's cousin, Kevin Carroll. Is the Middle East Forum

providing funding for this event? If not, could you please clarify the Middle East Forum's role in

the event, given that Lisa Barbounis was at the planning meeting and is with key organisers

today." Exhibit 93, Email to Pipes and Roman.

           240.        When asked by Pipes what she is doing in London, Barbounis responds,

“"Nothing I’m doing here is related to MEF." Exhibit 94, Message from Plaintiff to D. Pipes.

           241.        Also on December 7, 2018, Plaintiff chatted on Instagram with Vinney

Sullivan, an associate of Tommy Robinson, that Thomas had taken some of the grant money for

his own use. Exhibit 95, Instagram Message Logs.

           242.        Sullivan also referenced prior conversations that he had with Plaintiff

concerning the misappropriated funds. Id.

           243.        On December 9, 2018, Pipes wrote to Plaintiff that he was “awaiting your

reply to my several notes” about his concerns over her work with Robinson. Exhibit 96,

Message from D. Pipes to Plaintiff.

           244.        Plaintiff responded, “I honestly have been so busy with the march that I

haven’t had the opportunity to respond from my computer and wanted to give it the attention it

deserves. I just got to the airport and will respond as soon as I get sorted. Sorry for the delay. Id.

           245.        Pipes replied, “I have the sense that your position at MEF is distinctly less

important than your activities with Tommy Robinson. This is not good.” Id.

           246.        Plaintiff responded, “Honestly that isn’t the case. It’s the opposite. I was




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just in an awkward situation over the weekend with limited access to my computer and wanted to

reply thoughtfully. Please don’t think that. Im back to work and focused on MEF. It’s been a

stressful few weeks with the Gregg transition and learning new job functions not to mention

finals and my family. MEF and it’s [sic] mission mean the world to me. I deeply apologize if it

doesn’t appear that way at the moment. Id.

           247.          Pipes replied, “I am glad to hear that but you can see why, what with the

transition and the new job functions, your taking off for such a long period to do unrelated work

gives me the impression that MEF is a low priority. Especially as you did not indicate that this

will be happening, nor give me a decision. You just did it.” Id.

           248.          Plaintiff responded, “I can see why you would feel that way. And all I can

do is apologize and do better. The Tommy stuff was something I was good at. I finally felt like I

was contributing. I can see why it looks the way it does. I guess I got carried away. I thought I

was doing the right thing. Certainly wasn’t trying to neglect MEF or hide things from you.” Id.

           249.          Despite her chat with Sullivan only two days before, Plaintiff did not

report her suspicions about this missing money to Pipes at this time. Exhibit 1, Certification of

Daniel Pipes, at ¶ 69.

           250.          On December 12, 2018, Plaintiff drafted a fundraising communication for

Thomas using her barbounis@meforum.org email address. Exhibit 97, Fundraising Request.

           251.          On January 7, 2019, Plaintiff sent a fundraising proposal to Pipes from

Janice Atkinson, whom she met on her previous trip to the United Kingdom, for $100,000,

endorsing the proposal and urging Pipes to fund it. Exhibit 98, Proposal from J. Atkinson.

           252.          Plaintiff never revealed that she had helped write and edit the proposal. Id.

           253.          From January 28 to February 5, 2019, Plaintiff traveled to Brussels,




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Belgium to meet with Thomas and continue her affair. Exhibit 2, Barbounis Dep. Part 1 at

p.347-61.

            254.       On February 12, Plaintiff assisted Katie Hopkins, another United-

Kingdom based political figure, with a funding idea, which she offered to put together for

Hopkins. Exhibit 99, Correspondence between Plaintiff and K. Hopkins.

            255.       A proposal was submitted from Hopkins to the Forum, with Plaintiff never

revealing that she had been involved in the proposal itself. Exhibit 100, Proposal from K.

Hopkins.

            256.       On February 15, 2019, Pipes wrote to Plaintiff: “I think you are dragging

us into the Brexit issue and generally becoming too close to Tommy Robinson” and that The

Forum needed to “stay out of unrelated topics and keep our distance.” Exhibit 101, Message

from D. Pipes to Plaintiff.

            257.       On February 16, 2019, Thomas wrote to Plaintiff: “You’re making things

very intense for me right now Lisa, I don’t like the direction all of this is taking. I’ve asked my

father please help me to receive the income I need to do this, I need you to tell me how much

money I’ve taken so I can start making payments to you. I do absolutely appreciate everything

you have done for me Lisa, been my rock at many of times. But I am very stressed at the moment

with everything, I’m shouting at people I shouldn’t that’s just not you. I’m reacting in a way I

don’t feel is right. But I need some space between us for a while. And get things right for the

direction MEF want to take. My whole life is slowly falling apart, it’s time I did something about

it.” Exhibit 55 at p.1056.

            258.       Thomas states that Plaintiff did not accept his decision, and threatened to

tell Thomas’s wife, Jazmin Bishop, about their affair. Exhibit 81, Transcript of Call with D.




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Thomas.

           259.          Thomas reports that when he told Barbounis about his intention to end

their sexual relationship, Barbounis replied that “she was somehow going to make it come out

and fuck my life up and get me, uh, you know, using that as a, as a way of trying to keep me in

contact with her.” Id.

           260.          On February 27, 2019, Plaintiff wrote to Facebook identifying herself as

“Director of Communications” for Robinson in an effort to recover Robinson’s locked account.

Exhibit 102, Message from Plaintiff.

           261.          On March 4, 2019, Pipes informed Plaintiff that the Forum would no

longer fund Robinson or his events, stating: “Funding street demonstrations was an exception in

2018 due to Tommy Robinson's urgent circumstances. I don't see this as something we'll do agan

[sic] in the future." Exhibit 103, Message from D. Pipes to Plaintiff.

           262.          That same day, Plaintiff wrote to Thomas stating that she “had a plan” to

deal with Pipes rejection but that she needed to speak with Robinson first. Exhibit 104, Message

from Plaintiff to D. Thomas.

           263.          On March 7, 2019, Plaintiff had a conversation with Jazmin Bishop,

Thomas’ domestic partner and mother of his children, who told Plaintiff that Thomas had stolen

approximately $7,000 from The Forum’s $32,000 grant to benefit Robinson. Exhibit 105,

Messages between Plaintiff and J. Bishop.

           264.          In the same communication with Bishop, Plaintiff acknowledged that she

had long harbored a suspicion that Thomas had used some of the money inappropriately based

on her conversation with Sullivan. Id. at 1.

           265.          In that conversation with Bishop, Plaintiff referenced Vinney Sullivan, an




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associate and sometimes rival of Thomas’ who was involved in the June 2018 rally, and who had

earlier informed Plaintiff that the Forum’s funds were improperly used, stating:

               And I didn’t know about the money that he [Thomas] took from
               MEF until you told me. It was always in the back of my mind
               because it didn’t add up and the whole vinney and you thing but he
               said you were crazy and would do anything to destroy him and I
               wanted to believe him. Now that I know I’m obligated to tell my
               work. What do I do? That’s theft.

       Id. (emphasis added).

           266.        In that conversation with Bishop, Plaintiff expressly acknowledged that

Thomas had stolen $7,000 from the Forum. Id. at 4.

           267.        In that conversation, Plaintiff wrote: “That’s 7 thousand dollars he stole

from MEF and Tommy.” Id.

           268.        Later that day, Plaintiff wrote to Robinson, explaining, “I recently found

out some potentially messy things that have to deal with demos MEF and I need to back away

until I figure it all out. And if I tell MEF which I think I’m obligated to it’s not good. Plus I

have jaz harassing me. I’m out.” Exhibit 106, Messages between Plaintiff and T. Robinson.

           269.        Plaintiff continued, “I’m sure you know about the jaz and danny shit. I

knew money didn’t add up after the first demo but it looks like he kept 7k for himself. If MEF

finds out I knew and didn’t tell them I’m fucked. If I tell them its not good for you and

future money. It’s all so messy. And I don’t know what to do.” Id. (emphasis added).

           270.        Plaintiff continued, “So MEF gave him 30,000 for the demo. The last one

didn’t cost that much and look at the difference. He is going to have to get receipts and bank

statements.” Id.

           271.        The next day, March 8, 2019, Plaintiff went to Pipes and successfully

advocated for Roman’s return to the office. Exhibit 1, Certification of Daniel Pipes at 45.



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           272.       On March 10, 2019, Plaintiff demanded Thomas’ financial information

from Bishop in order to ascertain the extent of Thomas’ misappropriation, stating, “I need

Danny's bank account and I need the invoices." Exhibit 105, Messages between Plaintiff and J.

Bishop at p.8.

           273.       When Bishop resisted, Plaintiff continued, “I have to. That's exactly my

point I need a plan if my work gets wind of that Tommy screwed and dandy screwed so we need

a plan." Exhibit 146 - Lisa Barbounis WhatsApp with Jazmin Bishop p.116.

           274.       Plaintiff also voiced her concerns to Bishop that if the Forum discovered

the misappropriation by Thomas, it would cease further funding of Robinson, stating: “I’m afraid

my work is going to pull the money and that screws Tommy [Robinson]." Id., pg. 123.

           275.       Plaintiff continued: “I do more for tommy then danny ever did. As a

matter fact if it wasn't for my company getting involved with Danny's demo they would've never

been the way they were and he would've never been involved as he is today." Id. pg. 125.

           276.       In late March and May of 2019, Plaintiff traveled twice to the United

Kingdom to visit Thomas and a second paramour, and to continue her work with Robinson on

his campaign for European Parliament. Exhibit 1 at 68-80.

           277.       Plaintiff lied to Pipes about the purposes of these trips, claiming she was

working for MEF’s media strategy for the first, and that the second was a vacation and that she

had brought her children with her. Exhibit 107, Message from Plaintiff to D. Pipes.

           278.       Plaintiff used the March trip to work on a proposal to solicit a million

dollars for another organization from Terry Giles, attempting to earn herself a $100,000

commission. Exhibit 108, Message from Plaintiff to T. Giles.

           279.       In her report to The Forum, Plaintiff does not mention her political efforts




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on behalf of Robinson nor her efforts to earn the $100,000 commission from another

organization. Exhibit 109, Memo from Plaintiff.

             280.       On March 26, 2019, in response to Plaintiff’s report, Pipes told Plaintiff

that the report was “all good with the very substantial exception of helping Tommy Robinson

come to the United States, which I am very, very much against. He has a potential leadership role

in the UK - he's already advisor to the head of UKIP [United Kingdom Independence Party] and

I've heard talk of his running for MEP in case Brexit does not happen - which cannot be

replicated in the United States. Without riling up Mr Giles, please do not be party to this effort

and please do convey to TR my strong view that he should not quit the UK.” Exhibit 110,

Message from D. Pipes (emphasis added).

             281.       Plaintiff responded untruthfully to Pipes, stating: “I also advised against

him coming permanently to the US. Once he realized that he couldn’t go back to the UK if he

declared asylum he was much less interested. I’m meant doing a speaking tour here is what I’m

interested in. Not moving here permanently. I should have been more clear.” Exhibit 111,

Message from Plaintiff to D. Pipes.

             282.       On April 10, 2019, Plaintiff coordinated with Amy Mekelburg from the

RAIR Foundation on fundraising proposals that would be submitted to the Forum on behalf of

RAIR. Exhibit 112, Plaintiff’s Correspondence with A. Mekelburg.

             283.       Plaintiff also sent Mekelburg a list of foundations that donate money to the

Forum. Id.

             284.       On April 12, 2019, MEF received press coverage in the United Kingdom

as a result of Barbounis’ continuing unauthorized political work with Robinson. Exhibit 113,

Tweet from Plaintiff.




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           285.        Pipes confronted Plaintiff about her political associations and frequent

travel, his concern that she did not clear her continued work for Robinson with him, and his

belief that she was too caught up in and focused on her activities with Robinson at the expense of

her work for MEF. Exhibit 114, Message from D. Pipes to Plaintiff.

           286.        Pipes asked that Plaintiff not surprise him with her travels and made clear

that he was not convinced that she was focused on the tasks agreed upon in November 2018. Id.

           287.        Nevertheless, Plaintiff continued to perform work for Robinson. Exhibit

115, Correspondence between Plaintiff and T. Robinson.

           288.        On April 18, 2019, Plaintiff wrote to Robinson with an affirmative

response to his plan for her to be the director of communications for his campaign for European

Parliament, “For now because of Gregg I’m keeping it quite [sic] from MEF.” Exhibit 116,

WhatsApp Communications between Plaintiff and T. Robinson at p.562.

           289.        Also on April 18, 2019, Plaintiff had a conversation with Twin Walton,

another of her paramours in the United Kingdom, in which Walton referenced the money taken

by Thomas: “Well I think it's wrong that tommy accepts Danny has taken the money without him

paying him bk or without tommy having a sey on it it's fucking ludicrous and I feel like your

being used for there needs as and when they need ya." Exhibit 117, Correspondence between

Plaintff and Twin Walton (all errors in original).

           290.        Plaintiff responded to Twin Walton: “I just want to move on from the

danny stuff. It’s old news. I’m willing to forget the money so he will leave me alone. And

tommy is going to pay me. And I get to be where I want to be. So win win, no?” (Id.)

(emphasis added).

           291.        Twin Walton responded, if Robinson “had any respect for u he wud [sic]




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make Danny pay that money back.” (Id.).

            292.       On April 28, 2019, Plaintiff lobbied the Forum to fund Robinson’s legal

fight despite her knowledge of the prior misappropriation; Pipes acquiesced, stating, “I am

reluctant. But if you both are convinced this is necessary, I am willing to fund the £10,000."

Exhibit 118, Message from D. Pipes to Plaintiff.

            293.       On April 30, 2019, Pipes criticized Plaintiff for having her work email

autorespond to incoming messages with a notice that she would be out of the office for six

weeks. Exhibit 119, Message from Pipes to Plaintiff.

            294.       On May 16, 2019, The Guardian contacted Pipes and Roman about

Plaintiff’s activities in the United Kingdom and sought clarification on the role of the Forum and

Plaintiff in Robinson’s European Parliament election campaign. Exhibit 120, Query from The

Guardian.

            295.       On May 16, 2019, in light of the inquiry by The Guardian, Plaintiff lied to

Pipes and Roman about the purpose of and her work during her travels to England, stating:

"Sending this to just you and Gregg. I was on l, and requested in writing, a vacation with my

family to England and Ireland. I stopped in England to see Tommy and introduce my family to

him. I went to 3 of his rallies so they could see what it was like. I am home. As you know I do

occasionally volunteer my time to help him with little things such as answering emails on

TR.news and the Press box for votetommyrobinson.com. I use my maiden name specifically to

keep things separate. Neither MEF nor Tommy paid me any money for my official family

vacation. That includes travel and accommodation. Anything I have done for Tommy is strictly

on a personal volunteer basis." Exhibit 121, Message from Plaintiff to D. Pipes.

            296.       That same day, Plaintiff told George Igler, a campaign worker for




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Robinson, what she told the Forum about her activities in England. Exhibit 122, Message from

G. Igler to Plaintiff.

            297.         Igler responded: "Very wise to have a piece of paper from the MEF

confirming you were on vacation. It’s the classic Marxist 'false consciousness' fantasy that they

will not let go of." Id. at p.2.

            298.         Plaintiff responded to Igler, stating: “"I'm worried pipes will be mad...But

who cares. The cause [For Tommy Robinson] is far more important to me.” Id. at p.5.

            299.         An article in the Guardian newspaper on May 17, 2019 spoke of

Barbounis in the Robinson campaign, the author noting, "There has been a more surprising

presence at Robinson’s rallies, however: Lisa Barbounis, a senior executive of the conservative

US thinktank the Middle East Forum, has been a central figure on Robinson’s campaign team

and present at many of his rallies, the Guardian has learned. Her exact role is unclear but

Barbounis, who says she has worked on several Republican campaigns including John McCain’s

run for president in 2008, has been on the trail with Robinson for about a fortnight." Exhibit

123, Guardian Article.

            300.         On May 18, 2019, Barbounis wrote to her future roommate, Sydney

Watson: “Do you know how many times him and everyone else told me to stay away from

Tommy robinson but I love it. I do what I want." Exhibit 124, Message from Plaintiff to S.

Watson p.179 (emphasis added).

            301.         As a 501(c)(3) organization, MEF is subject to strict legal controls

concerning its use of funds for its mission and involvement in political activities. Exhibit 1 at 59.

            302.         As a result, Pipes emailed Barbounis on May 28, 2019, concerning her

poor work performance and political association: “In my April 16 note to you, I wrote ‘Please




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don’t surprise me with your travels.’ But then it turns out the Guardian had a mole who spotted

you at three separate Tommy Robinson rallies; that definitely counts as a surprise. From now on,

you need express permission from me before engaging in MEF travel and you must also clear

with me any personal travel that includes a political agenda.” Exhibit 125, Message from D.

Pipes to Plaintiff.

            303.       Pipes also reprimanded Barbounis for her continued poor work

performance, including her failure to get articles out on time to MEF subscribers; her failure to

improve her public stature; her failure to improve the composition of MEF’s staff; her failure to

increase publications; her failure to hold monthly conference calls for subscribers; her failure to

increase YouTube videos; and her failure to make weekly reports. Id.

            304.       On May 29, 2019, Plaintiff again coordinated with Mekelburg on

fundraising documents for RAIR that would ultimately be submitted to the Forum. Exhibit 126,

Grant Request from A. Mekelburg.

            305.       On that same date, Plaintiff communicated with Grayson Levy about

taking a job with Mekelburg and RAIR, and the possibility of having a donation by the Forum to

RAIR covering her salary. Exhibit 127, Messages between Plaintiff and G. Levy.

            306.       On May 31, 2019, Plaintiff wrote to Bishop that she thought “about

sleeping with him [Thomas] just to fuck you over because you won't leave me alone." Exhibit

128, Message from Plaintiff to J. Bishop.

            307.       On June 2, 2019, in a conversation with Plaintiff about her issues with

Pipes, McNulty told Plaintiff, “Yeah, you're a good liar and I don't think even you could come

up with something for that." Exhibit 20, Text Messages between Plaintiff and P. McNulty, at

p.1177.




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           308.       On June 5, 2019, Pipes again wrote to Barbounis: “The Guardian article

from May 17 has a long, insinuating paragraph about you along with a picture of you. The clear

implication is that MEF supports Tommy Robinson's campaign. This rates as both a surprise and

an unwelcome complication. The article could entirely disappear but it could also pop up in the

future and make trouble for us. I do not want potential trouble hanging over us, so am displeased.

You and I have already discussed the matter of your affiliating MEF too closely with Tommy

Robinson and we reached an informal agreement that you would stay away from his efforts.

Given this development, I am now imposing a formal limitation on you: No campaign work,

even during your private time, without clearance from me.” Exhibit 129, Message from D.

Pipes to Plaintiff (emphasis added).

           309.       Plaintiff responded falsely to Pipes, stating: “Noted. Although, the trip

was for fun and not intended to be political. My children went with me. I don't intend on going

back any time soon.” Exhibit 130, Message from Plaintiff to D. Pipes.

           310.       Two days later, despite having not complained about any sexual

misconduct or retaliation to Pipes or O’Brien, Plaintiff filed her first EEOC charge. Doc. 14 at

14.

           311.       On June 10, 2019, Plaintiff complained to Benjamin Baird, another

employee of the Forum with whom Barbounis engaged in a sexual affair, about Thomas, stating:

“"Yep the minute I met him I couldn't stand him I told Tommy to stay away from him I knew he

stole the 20,000 from Tommy. Tommy is just so freaking nice. When I met him out a drug

Tommy and the crew away to a different bar turns out they were following us with hope not hate.

[“Hope Not Hate” is a British organization] He called me the American bitch to Raheem. And

then proceeded to kiss my ass in Brussels and like follow me around like a puppy dog." Exhibit




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131, Messages between Plaintiff and B. Baird.

           312.        On June 17, 2019, Pipes wrote to Plaintiff: "I am reluctant to tell you

where to go and what to do in your private time. But I am adamantly opposed to the press getting

wind of your working with Tommy; we have a limited role in his work and your repeated

presence there goes much beyond our preferred limits. So, go if you wish but know I will be very

upset with major consequences if your presence becomes known outside Tommy Robinson's

own circles. Put differently, I much prefer you not go but I leave the decision to you." Exhibit

132, Message from D. Pipes to Plaintiff.

           313.        On June 19, 2019, Pipes wrote to Plaintiff expressing his displeasure with

her “casual unconcern” about a job announcement that Plaintiff failed to send out. Exhibit 133,

Message from D. Pipes to Plaintiff.

           314.        Plaintiff had intentionally failed to send it out so that McNulty’s EEOC

charge would arrive prior to the announcement. Id.

           315.        On June 28, 2019, Twin Walton wrote to Plaintiff ending their affair over,

among other things, Plaintiff’s failure to report the money misappropriated by Thomas, stating:

“"It wasn't you I didn't want tho , i didn't like what the rest was doing so I thought fuck yas ,

that's why I didn't bother with the movement, look at how embarrassing it was in Liverpool and

Oldham and Manchester they was getting chased round like little girls made me realise just what

mugs they have around them as never once on the demo me Archie & Seamus did did anyone

ever get the chance to attempt to do sumthing like that to tommy let alone get near him, tommy

speaks the truth the rest our just out for fame on his back,I become delusional with it all after

everyone thought it was okay for tomo [Daniel Thomas] to do that with the money if he can

virtually rob you and your company & beg off others and no1 fucks him off for it then




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that's wrong that's not my shit that ain't how I get down I got fuck all for them demo

everyone else getting clothes or money I done it because it was sumthing I believed in and

still believe in , I'm famous in my own town I don't need anyone. I cared about you but you

wouldn't havd it as you was so wrapped up in it it's all fun and games till people get hurt ...”

Exhibit 117, Correspondence between Plaintff and Twin Walton (emphasis added) (all errors in

original).

             316.      Plaintiff responded to Twin Walton, stating: “"I just knew what my work

situation was and I can't rock the boat too much. I have kids to feed. Additionally I believe in

Tommy." Id. (emphasis added).

             317.      On July 1, 2019, Barbounis appeared in a press release as an employee of

Robinson’s media organization, TR.News, where TR stands for Tommy Robinson. The press

release included full contact information for Barbounis. Exhibit 134, Press Release.

             318.      Plaintiff had promised Pipes that she was travelling to London not to work

with Robinson, but to observe his civil contempt trial. Exhibit 132.

             319.      On July 16, 2019, Plaintiff used MEF resources to send out media

communications in her role as “Director of Communications” for TR.News. Exhibit 135, Press

Communication.

             320.      On July 19, 2019, Plaintiff was banned from Facebook for linking to an

article on Robinson. Exhibit 136, Plaintiff Banned from Facebook.

             321.      That same day, Plaintiff threatened Jazmin Bishop to Thomas, stating: “I

have a boyfriend, I’ve moved on, I have been nice to her. And I have only ever tried to be civil

with you. If I have to come over there and kick her little fucking ass I will” and “Fine. Just know

that she is a LOSER and if she comes at me again I will ruin her fucking day.” Exhibit 55 at




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p.1157).

           322.       Finally, Plaintiff stated to Thomas: “For some weird reason I still have

some loyalty to you and I will always be good to you as much as I can." Id. at p.1205.

           323.       Plaintiff also told Thomas that she would “destroy” Bishop. Exhibit 137,

Message from Plaintiff to J. Bishop.

           324.       Plaintiff also told Bishop that she “love[s] torturing you.” Exhibit 138,

Message from Plaintiff to J. Bishop.

           325.       Plaintiff received a litigation hold from The Forum in connection with this

case before she resigned from The Forum, deleted all the files on her MEF computer with a

factory reset, and before she deleted the Telegram app from her phone. Exhibit 2, Barbounis

Dep, Part 1 at p.537-541

           326.       On August 7, 2019, Plaintiff voluntarily resigned from her position at The

Forum. Exhibit 1, Certification of D. Pipes at 67.

           327.       Prior to submitting her resignation to The Forum, Plaintiff had applied for

and obtained a position as Director of Communications for Congressman Randy Weber (R-TX).

Exhibit 139, Plaintiff’s Resume.

           328.       In her application for this position, Plaintiff misstated her role at MEF and

embellished her media credentials: "Since entering my role as Director of Communication for the

Middle East Forum I have increased our social media engagement by 32%. From June 2018

through June 2019, I helped place 1,128 articles by 56 experts in 97 outlets, from D.C.'s

influential The Hill to the Wall Street Journal, from The Washington Times to Foreign Policy.

Additionally, I arranged for 27 of our experts to be interviewed 92 times by 81 media outlets on

both radio and television ranging from outlets like I24 News and Al Jazeera to Fox News." Id.




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           329.         Plaintiff continues to date to do work in this role. Exhibit 2, Barbounis

Dep. Part 2 at p.381.

           330.         Plaintiff loves her job with Congressman Weber. Id. at p.411.

           331.         Plaintiff makes more money working for Congressman Weber than she

did while working at The Forum. Id. at p.403.

           332.         On September 24, 2019, Matthew Ebert, boyfriend of Marnie O’Brien,

called Roman via an unlisted, private number as an “anonymous source” with the stated intention

of “blowing the lid off an employment litigation action by former employees” of MEF. Exhibit

140, Transcript of Call from M. Ebert.

           333.         Ebert told Roman that the women involved in the lawsuit are all “banking

on a large settlement,” and that the other women involved had questioned Barbounis’

motivations for suing. (Id.).

           334.         On October 27, 2019, Plaintiff filed this lawsuit. Doc. 1.

           335.         In October of 2019, after Bishop threatened to tell the Forum about

Plaintiff’s knowledge of Thomas’ misappropriation of funds, Plaintiff harassed Bishop in an

effort to silence her, stating: “You're the biggest fucking loser I've ever met in my entire life. I

actually can't think of anybody in the world more pathetic than you right now. Think about what

you're doing on your Saturday night.” Exhibit 141, Transcript of Plaintiff’s Messages to J.

Bishop at p.1.

           336.         Plaintiff also told Bishop, referring to Thomas: “He dogged you to me in

texts you read. He slept with me and came home to you. He posted pics of your kids with our

songs. And lied to you the WHOLE time. I’m the one who told your everything and you still

think I’m the liar. You are totally insane” and “I am going to galas with the Vice President today.




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You think I care about two welfare losers [sic].” Exhibit 142, Consolidated Transcrips of

Plaintiff's Messages to J. Bishop.

            337.        Plaintiff also told Bishop, referring to Thomas: “I’ll protect him but don’t

want him. I have no relationship with you. The only reason I ever showed you anything in the

first place was because I was sick of all the lies. But since you refuse to go anywhere there’s not

benefit in that for me. It’s all a cost benefit analysis. And there is no return on my investment

from showing you anything.” Exhibit 143, Messages between Plaintiff and J. Bishop.

            338.        Plaintiff also told Bishop: “That’s why it’s so funny for me you get all

angry and call me all these names but deep down it’s all because you know how awesome I am

and it scares you. You see me as a threat to your life. And if you didn’t think that I had any

power over you or Danny you wouldn’t be messaging me.” Id.

            339.        Plaintiff also harassed Bishop by voice message, telling her: “Oh, but I do.

I really do, because you were so pathetic and sad, you told me all of it. You poor thing. Have

another abortion, you whore [laughter].” Exhibit 142.

            340.        Plaintiff also told Bishop: “I went to an Ivy League school twice and I

work for Congress, she’s plenty proud. You mom’s a junkie that puts fucking drugs up her

snatch. What a loser.” Id.

            341.        Plaintiff also told Bishop: “Ha! Absolutely, positively not. Absolutely not.

And I have proof. If he wants to call me, tell him. Because I’m free to ruin both your lives. It’s

not a problem for me at all.” Id.

            342.        Plaintiff also told Bishop: ““It’s pathetic. Really is. You can’t stop

yourself. No self esteem or self control. No sense of pride or self worth because there is no

reason for it. You are trash.” Id.




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               343.   In 2019, Plaintiff engaged in a sexual relationship with an employee of the

Forum. Exhibit 2, Barbounis Dep. Part 1 at p.48.

               344.   In October 2019, Plaintiff stated publicly that she “has always made more

than her male counterparts.” Exhibit 145, Plaintiff’s Tweet.

               345.   Plaintiff blames this and numerous other sexual affairs that she carried out

during and after her employment with the Forum on Roman, testifying that “the only reason that

I had sex with anybody was because the Middle East Forum damaged my freakin emotional

state.” Exhibit 2, Barbounis Dep. Part 1 at p.62-63.

               346.   However, Plaintiff admitted that the issues between her and her husband

were “like this long before danny [Thomas],” stating: “Danny was the catalyst for me to admit

something was wrong. At one point I went to the OB/GYN and asked her if something was

wrong with my hormones because I was never interested in sleeping with my husband and I used

to love it. She said it was normal and that was what happens when we have kids and we are

exhausted.” Exhibit 146, Plaintiff's WhatsApp Messages with J. Bishop at p.245.

               347.   Plaintiff sent intimate photos of her paramour, an MEF employee, to

Delaney Yonchek, Plaintiff’s subordinate. Exhibit 4, Yonchek Dep. at p.60-63.

               348.   Yonchek admitted that she felt uncomfortable as a result of Plaintiff’s

actions. Id.

               349.   On July 13, 2020, Thomas directly admitted to misappropriating the

Forum’s grant funds. Exhibit 81, Transcript of Call with D. Thomas.

               350.   On July 13, 2020, Thomas informed the Forum that Plaintiff concocted

her allegations of sexual harassment against Roman and the Forum in order to obtain a

settlement that would fund her move to London. Id.




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           351.        During her work with Robinson and her associations with others in his

orbit and in various designated domestic terrorist organizations in the United States, Plaintiff was

and has been for some time at the nexus of white nationalism in the U.S. and England. Exhibit 1,

Declaration of Daniel Pipes, at ¶ 68-81.

           352.        Had Pipes known about (1) Plaintiff’s knowledge of and failure to report

Thomas’ misappropriation of the Forum’s grant funds for personal use; (2) her continual

disregard of his instructions to limit her work for and association with Robinson; (3) her many

misrepresentations to Pipes about the purpose of her trips to the United Kingdom; and (4) her

treatment of Bishop in voice mails and text messages; Pipes would have terminated Barbounis

with cause. Id. at ¶ 68-84.

           353.        The Forum’s discovery, during the course of this lawsuit, of Plaintiff’s

misrepresentations and omissions concerning the money misappropriated by Thomas and her

misrepresentations concerning her work and travel with Robinson motivated the Forum’s

decision to file its Counterclaims against Plaintiff and to seek recovery of damages caused by

Plaintiff’s disloyal behavior and fraudulent misrepresentation. Id. at ¶ 82-85.

           354.        On September 16, 2020, the Forum filed its Counterclaims against

Plaintiff. Doc. 53.

       Respectfully submitted,

 By: /s/ Jonathan R. Cavalier                    By: /s/ Sidney L. Gold
 Jonathan R. Cavalier                            Sidney L. Gold
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The Middle East Forum,
Daniel Pipes and Gregg Roman        Dated: March 1, 2021




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